                                  UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TENNESSEE
                                        AT CHATTANOOGA

    UNITED STATES OF AMERICA                               )
                                                           ) Case No. 1:17-CR-79-HSM-SKL
    v.                                                     )
                                                           )
                                                           )
    JEREMY L. WOODS                                        )

                                                       
                               DISCOVERY AND SCHEDULING ORDER
           
           If the parties in this action have not already done so, they shall within fourteen (14)
    days from the date of the entry of this order on the docket confer and the following shall be
    accomplished:
 
              A. Upon request of the defendant, the government shall permit the defendant to
              inspect and copy the following items or copies thereof, or supply copies thereof,
              which are within the possession, custody or control of the government, the
              existence of which is known or by the exercise of due diligence may become
              known to the attorney for the government:
 
                     1. Any relevant written or recorded statements made by the
                     defendant.
                     2. The defendant’s arrest and conviction record.

                     3. Results or reports of physical or mental examinations, and of
                     scientific tests, including, without limitation, any handwriting
                     analysis or experiments, which are material to the preparation of
                     the defense or are intended for use by the government as
                     evidence in chief at the trial.
 
              B. Upon request of the defendant, the government shall permit the defendant to
              inspect and copy the following items or copies thereof, or supply copies thereof,
              which are within the possession, custody or control of the government, or the
              existence of which is known or by the exercise of due diligence may become
              known to the government:
 
                     1. The substance of any oral statement made by the defendant
                     before or after his arrest in response to interrogation by a then
                     known to be government agent which the government intends to
                     offer in evidence at trial.
 
                     2. Recorded grand jury testimony of the defendant relating to the
                     offenses charged.
                     3. Books, papers, documents, photographs, tangible objects,
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              buildings or places which the government intends to use as
              evidence at trial to prove its case in chief, or were obtained from
              or belong to each defendant.
 
      C. Upon receipt by a defendant of materials in A(3) or B(3) from the government, the
      defendant shall permit the government to inspect and copy the following items, or
      copies thereof, or supply copies thereof, which are within the possession, custody or
      control of the defendant, the existence of which is known or by the exercise of due
      diligence may become known to the defendant:
 
             1. Books, papers, documents, photographs or tangible objects which
             each defendant intends to introduce as evidence in chief at trial.
 
             2. Any results or reports of physical or mental examinations and of
             scientific tests or experiments made in connection with this case which
             the defendant intends to introduce as evidence in chief at trial, or
             which were prepared by a defense witness who will testify concerning
             the contents thereof.
 
      D. Upon request of the defendant, the government shall disclose to the defendant a
      written summary of all expert testimony the government intends to use. This
      summary shall describe the witnesses' opinions, the bases and reasons therefor, and
      the witnesses' qualifications.
 
      E. If a defendant intends to rely upon the defense of insanity at the time of the
      alleged crime, or intends to introduce expert testimony relating to a mental disease,
      defect or other condition bearing upon the issue of whether he had the mental state
      required for the offense charged, he shall give written notice thereof to the
      government. This notice shall be given within twenty (20) days of the entry of this
      order.
 
      F. The government shall obtain the record of prior convictions of any alleged
      informant who will testify for the government at trial so that the record will be
      available to the defendant at trial.
 
      G. The government shall state whether the defendant was identified in any lineup,
      showup, photo spread or similar identification proceeding, and produce any pictures
      utilized or resulting therefrom.
 
      H. The government shall advise its agents and officers involved in this case to
      preserve all rough notes.
 
       I. Upon request, the government shall advise the defendant of the general nature of
       any evidence it intends to offer at trial under Rule 404(b), Federal Rules of
       Evidence.
 
       J. The government shall state whether the defendant was an aggrieved person,
       as defined in 18 U.S.C. § 2510(11) of any electronic surveillance, and if so,
       shall set forth in detail the circumstances thereof.
 
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             K. Upon request, the government shall provide the defense, for independent
             expert examination, copies of all latent fingerprints or palm prints which have
             been identified by a government expert as those of the defendant.
 
             L. The parties shall make every possible effort in good faith to stipulate all facts
             or points of law, the truth and existence of which is not contested and the early
             resolution of which will expedite the trial.
 
             M. The parties shall collaborate in preparation of a written statement to be
             signed by counsel for each side, generally describing all discovery material
             exchanged, and setting forth all stipulations entered into at the conference. No
             stipulation made by defense counsel at the conference shall be used against the
             defendant unless the stipulation is reduced to writing and signed by the
             defendant and his counsel.

             The government shall reveal to the defendant and permit inspection and copying of all

    information and material known to the government which may be favorable to the defendant

    on the issues of guilt or punishment within the scope of Brady v. Maryland, 373 U.S. 83

    (1963), United States v. Agurs, 427 U.S. 97 (1976) (exculpatory evidence), and United States v.

    Bagley, 473 U.S. 667 (1985) (impeachment evidence). Timing of such disclosure is governed

    by United States v. Presser, 844 F.2d 1275 (6th Cir. 1988).

             It shall be the continuing duty of counsel for both sides to immediately reveal to

    opposing counsel all newly discovered information or other material within the scope of this

    order.

             Upon a sufficient showing, the Court may at any time, upon motion properly filed,

    order that the discovery or inspection provided for by this order be denied, restricted or

    deferred, or make such other order as is appropriate. It is expected by the Court, however, that

    counsel for both sides shall make every good faith effort to comply with the letter and spirit of

    this order.

             All motions shall be filed in this cause no later than Wednesday, July 5, 2017. Any

    motion which requires the resolution of an issue of law must be accompanied by a supporting

    memorandum. Local Rule 7.1 EDTN. Without such a memorandum, the motion will not be
 
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    considered by the Court. If either party desires a Daubert hearing regarding expert testimony,

    that party shall notify the Court by Wednesday, July 5, 2017.

           Plea bargaining shall be concluded by Tuesday, July 18, 2017, and any written

    agreement shall be executed by said date.

           All requests for jury instructions shall be submitted no later than Monday, July 24,

    2017. A copy of the prepared jury instructions should be sent as an electronic mail attachment

    in WordPerfect format to mattice_chambers@tned.uscourts.gov.

           A final pretrial conference shall be held before the United States District Judge at 3:00

    p.m. [EASTERN] on Monday, July 24, 2017. Prior to the pretrial conference, the parties

    shall familiarize themselves with the Rules regarding the Jury Evidence Recording System

    (JERS) available at www.tned.uscourts.gov/jers.php. The parties shall disclose to one another

    and to the Court, technology they intend to use in the courtroom during the trial and how they

    intend to use it (e.g., display equipment, data storage, retrieval, or presentation devices). This

    disclosure shall list (1) equipment they intend to bring into the courtroom to use, and (2)

    equipment supplied by the Court the parties intend to use.

           Further, the parties shall disclose to one another the content of their electronic or digital

    materials by the time of the final pretrial conference, and shall confirm the

    compatibility/viability of their planned use of technology with the Court’s equipment by the

    final pretrial conference. General information on equipment supplied by the Court is available

    on the Eastern District of Tennessee website (www.tned.uscourts.gov). Specific questions

    about Court-supplied equipment should be directed to the courtroom deputy (directory

    available on website).

           The trial of this case will be held before the United States District Judge and a twelve-

    person jury beginning on Tuesday, August 1, 2017. Counsel shall be prepared to commence


 
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    trial at 9:00 a.m. [EASTERN] on the date which has been assigned. If this case is not heard

    immediately, it will be held in line until the following day or anytime during the week of the

    scheduled trial date.

              One principal purpose of this discovery order is to avoid the necessity of counsel for the

    defendant(s) filing routine motions for routine discovery.          Accordingly, counsel for the

    defendant(s) shall make a request of the government for each item of discovery sought and be

    declined the same prior to the filing of any motion. Further, any motion filed on behalf of the

    defendant(s) shall include an accompanying certification by counsel for the defendant(s) that

    either:

              (1) The item of discovery sought in the motion is not included in or covered by this

    discovery order; that a formal request for the item has been made to the government, and the

    government has declined the request, or

              (2) The item of discovery sought in the motion is included in or covered by this

    discovery order; that a formal request for the item has been made to the government, and the

    government has declined the request.

              Sanctions may be imposed for failure to follow this procedure.

              SO ORDERED.

            ENTER. 
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                                                   SUSAN K. LEE
                                                   UNITED STATES MAGISTRATE JUDGE




 
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